        Case 1:21-cr-00670-CJN Document 116 Filed 07/15/22 Page 1 of 24




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA            :
                                    :
                                    :               Criminal No. 21-670 (CJN)
                                    :
v.                                  :
                                    :
STEPHEN K. BANNON,                  :
                                    :
            Defendant.              :
____________________________________:

      MOTION TO EXCLUDE CONGRESSIONAL EVIDENCE OR DISMISS THE
        INDICTMENT BASED ON GRANTING THE MOTION TO QUASH
                            IN IN RE: NON-PARTY SUBPOENAS


       Defendant Stephen K. Bannon, by and through his undersigned counsel and pursuant to

the Fifth and Sixth Amendments to the United States Constitution, respectfully moves this Court

to dismiss the Indictment in light of the Court’s July 11, 2022, oral Order granting the motion to

quash the outstanding subpoenas in the related case, In Re: Non-Party Subpoenas, Misc. Case No.

22 Misc-00060 (CJN).1

                                    Summary Of Argument

       Mr. Bannon faces trial on criminal charges – two counts of Contempt of Congress, in

violation of 2 U.S.C. § 192 – which stem from his conduct after receiving a subpoena dated

September 23, 2021, issued on behalf of the Select Committee to Investigate the January 6th Attack

on the United States Capitol (“Select Committee”). The Government contends that Congress is the


1
 Filed by the Honorable Nancy Pelosi, the Honorable Bennie G. Thompson, the Honorable
Elizabeth L. Cheney, the Honorable Adam B. Schiff, the Honorable James B. Raskin, the
Honorable Susan E. Lofgren, the Honorable Elaine G. Luria, the Honorable Peter R. Aguilar, the
Honorable Stephanie Murphy, the Honorable Adam D. Kinzinger, the Honorable Jim Clyburn, the
Honorable Steny Hoyer, David Buckley, Douglas Letter, Kristen Amerling, and Sean Tonolli.
           Case 1:21-cr-00670-CJN Document 116 Filed 07/15/22 Page 2 of 24




“complainant.”2 Mr. Bannon served subpoenas on nine Select Committee members. They are:

Reps. Thompson, Cheney, Schiff, Raskin, Lofgren, Luria, Aguilar, Murphy, and Kinzinger.

Through the Select Committee, these nine members of Congress set in motion Mr. Bannon’s

prosecution by failing to accept his assertion of executive privilege (on orders of President Donald

J. Trump, the holder of the privilege), by failing to grant Mr. Bannon’s reasonable request for an

accommodation that would have allowed a judge to resolve the privilege issues in a civil

enforcement proceeding (instead of facing criminal prosecution), or for a one week extension to

resolve the competing positions asserted on the executive privilege issue by Presidents Trump and

Biden, in light of the then pending lawsuit, Trump v. Thompson, and by deciding to make a

criminal referral in this case instead of working toward a resolution or engaging in a civil

enforcement proceeding to resolve the executive privilege issue.

          The Committee Members, ironically, filed a Motion To Quash the subpoenas, invoking a

Speech and Debate Clause privilege in order to avoid testifying at Mr. Bannon’s trial. Three other

movants – Reps. Pelosi, Hoyer, and Clyburn – joined the motion, also on privilege grounds.

Notably, these three Members of Congress did so after having already waived Speech or Debate

Clause protection by submitting themselves to the jurisdiction of this Court by filing an amicus

brief in support of the Government’s position.3 The final four movants – Messrs. Buckley, Letter,

Tonolli, and Ms. Amerling – are key Select Committee staff. They, together with the Members of

Congress identified above, possess critical exculpatory evidence that is essential to Mr. Bannon’s

ability to have a fair trial. Mr. Letter already has served as a fact witness for the Government in



2
    See Hearing Tr. March 16, 2022, at 26 (Congress is “essentially, the complainant in this case”).
3
 See Criminal No. 21-670 (CJN), Brief of the United States House of Representatives as Amicus
Curiae in Support of the Department of Justice [Doc. 76-2].
                                                   2
        Case 1:21-cr-00670-CJN Document 116 Filed 07/15/22 Page 3 of 24




the case [US-000245-000252] 4; but now has exempted from testifying by invoking privilege when

called to testify by the Defendant. All subpoenaed witnesses moved to quash based on their

purported Speech and Debate Clause privilege. The Motion To Quash was assigned a separate

Miscellaneous case number, Misc. Case No. 22-00060 (CJN); but it was consolidated with the

instant case for purposes of oral argument on July 11, 2022. After hearing oral arguments from

the non-party subpoena recipients, Government counsel, and Mr. Bannon, this Court granted the

MotionTo Quash. [July 11, 2022 Hearing Tr. at 141-144].

       Mr. Bannon respectfully asserts that granting the Motion To Quash created a fundamental

conflict between Mr. Bannon’s Fifth and Sixth Amendments rights to compulsory process, to

Confrontation, and to present a defense at trial on the one hand, and the Movants’ Speech or Debate

Clause privileges on the other hand. Mr. Bannon respectfully argues that because Movants set in

motion the prosecution of Mr. Bannon, they should not have been allowed to retreat behind the

Speech or Debate Clause when evidence of their actions (and their testimony concerning the same)

are directly relevant to Mr. Bannon’s charges, and essential to securing his Fifth and Sixth

Amendment rights. Their assertion of privilege must yield to the due process and liberty interests

of Mr. Bannon. Now that the Court has granted their Motion To Quash, the only next step

consistent with due process is to either exclude all congressional evidence at Mr. Bannon’s trial or

dismiss the charges entirely to preserve Mr. Bannon’s Fifth and Sixth Amendment Rights. See

discussion of Rainey case infra pp. 14-15 (dismissal of obstruction of Congress charge where

subpoenaed members of Congress validly asserted Speech or Debate privilege). Otherwise, there

would be a one-sided presentation of “evidence” at the criminal trial that is wholly untested by



4
 Bates Number references herein are to documents produced by the Government in Criminal No.
21-670 (CJN).
                                                 3
        Case 1:21-cr-00670-CJN Document 116 Filed 07/15/22 Page 4 of 24




cross-examination or the ability to elicit critical exculpatory evidence from key Members of

Congress and staff. The Constitution requires either the attendance of these congressional

witnesses, or the exclusion of all congressional evidence at the criminal trial. Testimony by staff

members not authorized to make decisions or set policy for the Committee is not a constitutionally

adequate substitute.

                                      Factual Background

       The factual background underlying this case is well known to the Court; but it is set out

here again for context. On September 23, 2021, Kristen Amerling, Esquire, Chief Counsel and

Deputy Staff Director of the Select Committee, served Mr. Bannon with a subpoena by email to

his counsel, Robert J. Costello, Esquire. The subpoena directed Mr. Bannon to produce certain

documents by October 7, 2021, and to appear for testimony on October 14, 2021. [US-000002].

       On October 6, 2021, Mr. Costello received an emailed letter from Justin Clark, Esquire,

counsel to President Trump, which stated in relevant part:

               President Trump vigorously objects to the overbreadth and scope of these requests
               and believes they are a threat to the institution of the Presidency and the
               independence of the Executive Branch.

               Through the Subpoenas, the Select Committee seeks records and testimony
               purportedly related to the events of January 6th, 2021, including but not limited to
               information which is potentially protected from disclosure by the executive and
               other privileges, including among others, the presidential communications,
               deliberative process, and attorney-client privileges. President Trump is prepared to
               defend these fundamental privileges in court

               Therefore to the fullest extent permitted by law, President Trump instructs Mr.
               Bannon to: (a) where appropriate, invoke any immunities and privileges he may
               have from compelled testimony in response to the Subpoena; (b) not produce any
               documents concerning privileged material in response to the Subpoena; and (c) not
               provide any testimony concerning privileged material in response to the Subpoena.
[US-000971].


                                                4
           Case 1:21-cr-00670-CJN Document 116 Filed 07/15/22 Page 5 of 24




       On October 7, 2021, Mr. Costello sent Ms. Amerling a letter detailing the communication

from President Trump’s counsel and further advised:

                It is therefore clear to us that since the executive privileges belong to President
                Trump, and he has, through his counsel, announced his intention to assert those
                executive privileges enumerated above, we must accept his direction and honor his
                invocation of executive privilege. As such, until these issues are resolved, we are
                unable to respond to your request for documents and testimony…We will comply
                with the directions of the courts, when and if they rule on these claims of both
                executive and attorney client privileges. Since these privileges belong to President
                Trump and not to Mr. Bannon, until these issues are resolved, Mr. Bannon is legally
                unable to comply with you subpoena requests for documents and testimony.
[US-000234 - 000235].

       On October 8, 2021, Mr. Costello received a letter from Hon. Bennie G. Thompson,

Chairman of the Select Committee, summarily rejecting all claims of privilege by President Trump

with respect to Mr. Bannon. [US-000238 - 000239]. The letter advised that Mr. Bannon was

obligated to produce documents “[r]egardless of any purported privilege assertion by Mr. Trump”

and warned that if Mr. Bannon did not ignore President Trump’s invocation of executive privilege

and respond the subpoena, the Select Committee would view this as “willful non-compliance with

the Subpoena….which could result in a referral from the House to the Department of Justice for

criminal charges.” Id.

       In response to Chairman Thompson’s October 8, 2021 letter, on October 13, 2021, Mr.

Costello sent a letter to Chairman Thompson wherein he provided legal support for Mr. Bannon’s

reliance on President Trump’s invocation of executive privilege and reiterated that Mr. Bannon

would further respond to the subpoena if President Trump withdrew his claims of privilege, or if

a court resolved the legal issues. [US-000315 – 000316]. The letter stated, in pertinent part, as

follows:



                                                 5
        Case 1:21-cr-00670-CJN Document 116 Filed 07/15/22 Page 6 of 24




       As an initial matter, your use of the word “defiance” is inappropriate. Mr. Bannon’s
       position is not in defiance of your Committee’s subpoena; rather, Mr. Bannon noted that
       President Trump’s counsel stated that they were invoking executive and other privileges
       and therefore directed us not to produce documents or give testimony that might reveal
       information President Trump’s counsel seeks to legally protect. Mr. Bannon has testified
       on three prior occasions, before the Mueller Investigation, The House Intelligence
       Committee and the Senate Intelligence Committee. In each of those instances, when
       President Trump waived his invocation of the executive privileges, Mr. Bannon testified.
       As recently as today, counsel for President Trump, Justin Clark, Esq., informed us that
       President Trump is exercising his executive privilege; therefore, he has directed Mr.
       Bannon not to produce documents or testify until the issue of executive privilege is
       resolved. Your Committee will have the right to challenge that exercise or its scope. That
       is an issue between the Committee and President Trump’s counsel and Mr. Bannon is not
       required to respond at this time. See Comm. on the Judiciary v. McGahn, 415 F. Supp. 3d
       148, FN 34 (D.D.C. 2019) (“The President can certainly identify sensitive information that
       he deems subject to executive privilege, and his doing so gives rise to a legal duty on the
       part of the aide to invoke the privilege on the President’s behalf when, in the course of his
       testimony, he is asked a question that would require disclosure of that information.”)[.]
       Until such time as you reach an agreement with President Trump or receive a court ruling
       as to the extent, scope and application of the executive privilege, in order to preserve the
       claim of executive and other privileges, Mr. Bannon will not be producing documents or
       testifying. As noted previously, Mr. Bannon will revisit his position if President Trump’s
       position changes or if a court rules on this matter.
Id.
       On October 13, 2021, Mr. Costello telephoned Sean Tonolli, Senior Investigative Counsel

for the Select Committee, to inquire (1) whether it was possible for one of President Trump’s

lawyers to attend the deposition and make privilege objections on President Trump’s behalf; and

(2) whether the deposition could be conducted remotely. [US-000317]. Mr. Tonolli understood

that “the thrust of these questions” by Mr. Costello were consistent with an ongoing effort to reach

accommodation that would allow Mr. Bannon to appear in response to the subpoena. Id.

       Because no accommodation was accepted by the Select Committee, notwithstanding the

constitutional imperative requiring the parties to try to reach one, Mr. Bannon did not produce the

subpoenaed documents or appear for testimony on October 14, 2021. [US-000277 -000288]. On

October 15, 2021, Chairman Thompson sent Mr. Costello a letter that included a blanket rejection


                                                 6
        Case 1:21-cr-00670-CJN Document 116 Filed 07/15/22 Page 7 of 24




of assertions of privilege by President Trump. [US-000299 - 000300]. The letter asked Mr. Bannon

to provide any additional information he wished to the Select Committee by October 18, 2021.

[US-000301].

       On October 18, 2021, Mr. Costello sent Chairman Thompson a second letter, which stated:

       We write on behalf of Stephen Bannon. We have just been advised of the filing of a lawsuit
       in federal court for the District Court of Columbia entitled Donald J. Trump v. Bennie
       Thompson, et al., 21-Civ-02769 (D.D.C. 2021). In light of this late filing, we respectfully
       request a one-week adjournment of our response to your latest letter so that we might
       thoughtfully assess the impact of this pending litigation.
[US-000290]. On October 19, 2021, Chairman Thompson sent Mr. Costello a letter that summarily

rejected Mr. Costello’s request for a one-week adjournment. [US-000275]. On October 21, 2021,

the House of Representatives voted 229-202, largely along party lines, to hold Mr. Bannon in

criminal contempt of Congress, and the matter was referred to the U.S. Attorney’s Office for the

District of Columbia. [US-000459 – 000504]. On November 12, 2021, a grand jury charged Mr.

Bannon in a two-count indictment. [Criminal No. 21-670 (CJN), Doc. 1].5




5
  Count One charges Mr. Bannon with Contempt of Congress, in violation of 2 U.S.C. § 192,
alleging that “having been summoned as a witness by the authority of the U.S. House of
Representatives to give testimony upon a matter under inquiry before a committee of the House,
did willfully make default – that is, in a matter under inquiry before the House Select Committee
to Investigate the January 6th Attack on the United States Capitol, BANNON refused to appear to
give testimony in response to a subpoena dated September 23, 2021, issued by the Select
Committee and commanding BANNON to appear for a deposition at 10:00 a.m. on October 14,
2021.” Id. at 8. Count Two also charges him with Contempt of Congress, in violation of 2 U.S.C.
§ 192, alleging that “having been summoned as a witness by the authority of the U.S. House of
Representatives to produce papers upon a matter under inquiry before a committee of the House,
did willfully make default – that is, in a matter under inquiry before the House Select Committee
to Investigate the January 6th Attack on the United States Capitol, BANNON refused to produce
documents and communications, provide a log of any withheld records, certify a diligent search
for records, and comply in any way with a subpoena dated September 23, 2021, issued by
the Select Committee and commanding BANNON to produce documents and
communications as delineated therein.” by October 18, 2021. Id. at 9.

                                                7
        Case 1:21-cr-00670-CJN Document 116 Filed 07/15/22 Page 8 of 24




       Members of the Select Committee have made public statements that reveal their bias

against Mr. Bannon. To note just a few examples:

          •   Those who have come forward to the @January6thCmte committee have chosen
              to do the right thing by showing up, speaking to Congress, and providing
              information. There is no one above the law, and we continue to gather
              information and facts about the events of January 6th.” Elaine Luria
              (@RepElaineLuria), Twitter (Apr. 13,2022,10:30
              PM),https://twitter.com/RepElaineLuria/status/1514430760996024321?ref_src=t
              wsrc%5Etfw.


          •   No one is above the law. No one can run out the clock. Our Select Committee will
              find the truth.” Stephanie Murphy (@RepStephMurphy), Twitter (Dec. 1, 2021,
              8:55 PM), https://twitter.com/repstephmurphy/status/1466224521371914243.


          •   No one is above the law. Sadly, a few of Mr. Trump’s aides continue to think they
              are. Zoe Lofgren (@RepZoeLofgren), Twitter (Mar. 28, 2022, 6:30 PM),
              https://twitter.com/repzoelofgren/status/1508574278207393795.


          •   Steve Bannon was given every opportunity to comply with a lawful subpoena. He
              chose instead to make specious claims of executive privilege. Tonight, we voted to
              hold him in criminal contempt. Despite what he and Trump may believe, no one is
              above the law.” Adam Schiff (@RepAdamSchiff), Twitter (Oct. 19, 2021, 7:58
              PM), https://twitter.com/RepAdamSchiff/status/1450612312407257089.


          •   And to be a strong, self-sustaining, self-respecting democracy, we can’t allow
              people to decide that they are above the law and that they are more important than
              our constitutional prophecies. Olafimihan Oshin, Raskin: Pence was a Hero on Jan.
              6 for Resisting ‘Pressure Campaigns’ and ‘Coercive Efforts’, The Hill (June 19,
              2022, 11:37 AM), https://thehill.com/homenews/3529123-raskin-pence-was-a-
              hero-on-jan-6-for-resisting-pressure-campaigns-and-coercive-efforts/.


          •   Anyone who attempts to hinder our investigation, or who refuses to comply with a
              subpoena, can expect that we will use every tool at our disposal to ensure the
              Committee’s work can continue. No one is above the law.” Press Release, Pete
              Aguilar, Member, House Select Committee to Investigate the January 6th Attack
              on the United States Capitol, Aguilar Issues Statement on Grand Jury Indictment

                                              8
           Case 1:21-cr-00670-CJN Document 116 Filed 07/15/22 Page 9 of 24




                 of Steve Bannon (Nov. 13, 2021) https://aguilar.house.gov/2021/11/13/aguilar-
                 issues-statement-grand-jury-indictment-steve-bannon/
          On May 10, 2022, Douglas N. Letter, Esq., General Counsel to the U.S. House of

Representatives, hand-filed a Motion with the Clerk of the Court seeking leave to file an amicus

curiae brief in support of both the government’s Opposition to Mr. Bannon’s Motion to Dismiss

[Criminal No. 21-670 (CJN), Doc. 65] and the government’s Motion in Limine to exclude evidence

relating to objections to the subpoena [Criminal No. 21-670 (CJN), Doc. 53]. The House’s decision

to file an amicus curiae brief in this case was approved by the three Democrat members of the

House Bipartisan Legal Advisors Group (“BLAG”) – namely, Reps. Pelosi, Hoyer, Clyburn.

          Also on May 10, 2022, Speaker Pelosi issued a press release. Speaker Pelosi’s press

statement asserted that the vote to hold Mr. Bannon in contempt of Congress “upheld the genius

of our Constitution[.]”6 Speaker Pelosi further stated in the public statement, follows:

          The Department of Justice is to be commended for moving to hold Bannon accountable for
          his blatant defiance of a lawful subpoena. Now, Bannon is seeking to dismiss the case,
          claiming that the Select Committee to Investigate the January 6th Attack does not have
          standing to compel his testimony. By addressing many of Bannon’s baseless arguments
          before the D.C. District Court, the House continues to defend this Constitutional power as
          well as its essential prerogative to establish its own rules and practices.
          No one is above the law. As the House’s amicus brief makes crystal clear, the subpoena of
          Steve Bannon issued by the Select Committee is legally valid, urgently needed and must be
          enforced.
Id. (emphasis added).
          On June 7, 2022, counsel for Mr. Bannon issued subpoenas for documents and testimony

to the Movants here. See Motion To Quash Ex. A to P. The subpoenas sought specific information

critical to Mr. Bannon’s defense in this matter, which is not available from any other source.




6
    Press Release, Nancy Pelosi, Speaker of the U.S. House of Representatives (May 10, 2022).
                                                  9
        Case 1:21-cr-00670-CJN Document 116 Filed 07/15/22 Page 10 of 24




       On June 9, 2022, counsel for Mr. Bannon and counsel for the U.S. House of

Representatives met and conferred via telephone. The Motion to Quash states that “[c]ounsel met,

but were unable to agree on any withdrawal or narrowing of the subpoenas.” Motion To Quash at

3. But that is not the whole story. Counsel for Mr. Bannon specifically offered to “make the process

as accommodating and unintrusive as possible” by offering to arrange the date of testimony so that

Members would not miss votes or be required to attend trial when the House was not in session.

In addition, counsel for Mr. Bannon specifically offered – among other accommodations to reduce

the burden of document production – to “work with individual Members on accommodations with

respect to the production of documents.” Counsel for the U.S. House of Representatives did not

take us up on those very broad offers of accommodation. House counsel acknowledged during

that conference that none of the Committee’s staffers has any decision-making authority.

Therefore, by House Counsel’s own admission, none of the staffers therefore would be competent

witnesses to testify to some of the most fundamental issues Mr. Bannon seeks to raise in his

defense, as detailed in earlier pleadings in this case. Only the Members of Congress would be

competent witnesses on issues including the decision-making process concerning the composition

of the Select Committee, the status of any “ranking minority member,” the refusal to engage in the

constitutionally mandated accommodation process, the rejection of executive privilege, and other

key defense issues to be put before the jury at trial.

       On June 13, 2022, Movants filed their Motion to Quash on the grounds that: (1) the

subpoenas are barred by the Speech or Debate Clause; (2) that the subpoenas lack the specificity

required by Fed. R. Crim. Pro. 17; (3) that Mr. Bannon has not established “extraordinary” or

“exceptional” circumstances that would permit him to compel the appearance and testimony of a




                                                  10
        Case 1:21-cr-00670-CJN Document 116 Filed 07/15/22 Page 11 of 24




“high-ranking government official”; and (4) that the subpoena to House General Counsel seeks

privileged information. Motion To Quash, Misc. Case No. 22-60 (CJN) [ECF 1 at 5].

       On July 11, 2021, in an oral Order, the Court granted the Motion to Quash, [July 11, 2022

Hearing Tr. at 141-144], denying Mr. Bannon the ability to compel the testimony of any of the

members. Two staff members will be permitted to testify voluntarily, with limitations even on

that, and neither has any decision-making authority. The granting of the Motion to Quash

irretrievably denies Mr. Bannon the exercise of his Fifth and Sixth Amendment rights (compulsory

process, confrontation, effective assistance of counsel, due process, fair trial rights). Mr. Bannon

therefore respectfully requests that the Court exclude all congressional evidence at his criminal

trial or dismiss the indictment.

                                          ARGUMENT

           Allowing Members Of Congress to Initiate A Criminal Prosecution For Criminal
               Contempt Of Congress and Then Retreat Behind The Speech And Debate
                       Clause When Summoned As Trial Witnesses Requires
                                      the Requested Relief .

       The Speech or Debate Clause provides as follows:

       The Senators and Representatives shall receive a Compensation for their Services, to be
       ascertained by Law, and paid out of the Treasury of the United States. They shall in all
       Cases, except Treason, Felony and Breach of the Peace, be privileged from Arrest during
       their Attendance at the Session of their respective Houses, and in going to and returning
       from the same; and for any Speech or Debate in either House, they shall not be questioned
       in any other Place.

U.S. Const. Art. I § 6, cl. 1. To understand the scope afforded by the Speech or Debate Clause, it

is important to understand its history. The clause traces its roots to England, where centuries of

monarchs used the criminal and civil court systems to control dissent in the legislature. United

States v. Johnson, 383 U.S 169, 178 (1966). The language of the Speech or Debate Clause mirrors

the language of its predecessor in the English Bill of Rights of 1689, which states “‘[t]hat the



                                                11
        Case 1:21-cr-00670-CJN Document 116 Filed 07/15/22 Page 12 of 24




Freedom of Speech, and Debates or Proceedings in Parliament, ought not to be impeached or

questioned in any Court or Place out of Parliament’ 1 W. & M., Sess. 2, c. 2.” Id. The “predominate

thrust” of the Speech or Debate Clause is to protect critical or disfavored legislators against

criminal charges by a hostile executive branch, or criminal conviction by a hostile judiciary.

Johnson, supra, 383 U.S. at 182. Thus, the Speech or Debate Clause protects members of Congress

and their aides against prosecutions that directly impinge upon or threaten the legislative process.”

Gravel v. United States 408 U.S. 606, 614 (1972).

       Because the Speech or Debate Clause “was designed to preserve legislative independence,

not supremacy,” Johnson, 383 U.S. at 178, there are circumstances where a member of Congress

(and staff) are subject to the compulsory process of the courts. For instance, in Gravel v. United

States, the Supreme Court explicitly held that the Speech or Debate Clause does not immunize a

member of Congress from service of process as a defendant in a civil matter or as a witness in a

criminal case. 408 U.S. 606, 614 (1972); see also United States v. Cooper, 4 Dall., 341 (1800)

(“The constitution gives to every man, charged with an offence, the benefit of compulsory process,

to secure the attendance of his witnesses. I do not know of any privilege to exempt members of

congress from the service, or the obligations, of a subpoena, in such cases.”).

       Where – as here – actions by a Member of Congress or staff infringe upon the constitutional

rights of a citizen, their acts are not protected by the Speech or Debate Clause. McSurely v.

McClellan, 553 F.2d 1277, 1288 (1976) (Speech or Debate Clause did not immunize senator and

his aides were not immune from liability in private suit for damages in which plaintiffs alleged

that documents taken in violation of Fourth Amendment from plaintiffs’ home by state authorities,

after being taken to Washington, DC, by investigator employed by Senate subcommittee, were

disseminated outside halls of Congress).



                                                 12
        Case 1:21-cr-00670-CJN Document 116 Filed 07/15/22 Page 13 of 24




       The Select Committee violated Mr. Bannon’s constitutional right to due process in

several respects. First, the Select Committee issued its subpoena without lawful authority. An

element of the offense in the criminal trial will be that Mr. Bannon was “summoned as a witness

by the authority of the U.S. House of Representatives.” [Criminal No. 21-670 (CJN), Doc. 1 at

¶¶ 23 & 25]. Each of the Movants has first-hand knowledge that is exculpatory on this element.

Second, the Select Committee rejected Mr. Bannon’s reasonable request for an accommodation

(a one-week extension), even though much longer extensions were granted to many Select

Committee deponents, despite the fact that the accommodation process is a constitutional

imperative when there is a tension between a legislative subpoena and executive privilege.

Again, each Movant has first-hand knowledge that is exculpatory on this critical trial issue.


       It is worth noting the Court’s opinion in United States v. American Tel. & Tel. Co., 567

F.2d 121 (D.C. Cir. 1977). The decision in that case emphasizes the constitutional mandate which

requires therespective parties to work toward accommodation when a conflict arises between an

assertion of executive privilege (Mr. Bannon’s obstacle until July 9, 2022), and a congressional

subpoena authority, Id. at 130, and further directs that the Court should encourage and facilitate

that accommodation process. Id. at 126-133; see also, Comm. on the Judiciary of the United States

House of Representatives v. McGahn, 968 F.3d 755, 772 (D.C. Cir. 2020) (referring to the parties'

historical responsibility to engage in negotiations to resolve their interbranch informational

disputes; see also, Id. at 778 to end, Henderson, J., dissenting, discussing the importance of the

accommodation process).7



7
 Other well settled legal principles also support the relief sought herein: 1. '[O]ccasion[s] for
constitutional confrontation between the two branches' should be avoided whenever
possible.” Cheney v. United States Dist. Court for D. C., 542 U. S. 367, 389-390, 124 S. Ct.
2576, 159 L. Ed. 2d 459 (quoting Nixon, 418 U. S., at 692, 94 S. Ct. 3090, 41 L. Ed. 2d 1039);
                                                13
        Case 1:21-cr-00670-CJN Document 116 Filed 07/15/22 Page 14 of 24




       The Framers did not rank some constitutional protections as superior to others. Nebraska

Press Ass’n v. Stuart, 427 U.S. 539, 561 (1976). The Sixth Amendment entitles Mr. Bannon to a

“meaningful opportunity to present a complete defense.” Crane v. Kentucky, 476 U.S. 683, 690

(1986). Inherent in this right is the right to offer testimony of witnesses and compel their

attendance. Washington v. Texas, 388 U.S. 14, 19 (1967) (it is fundamental to due process that

“[j]ust as an accused has the right to confront the prosecution’s witnesses for the purpose of

challenging their testimony, he has the right to present his own witnesses to establish a defense”);

see also Chambers v. Mississippi, 410 U.S. 284, 302 (1973) (few rights are more fundamental than

that of an accused person to present witnesses in his own defense.). This Court’s Order granting

the Motion to Quash, even if, arguendo, it was appropriately granted on the merits, in the context

of this case and vis a vis Mr. Bannon’s constitutional rights in this criminal prosecution violates

Mr. Bannon’s Fifth and Sixth Amendment rights and dismissal is the only appropriate remedy to

safeguard those rights.

       Courts have held that dismissal of an indictment is the appropriate remedy when the

government’s assertion of a privilege prevents a criminal defendant from securing documents and

testimony relevant and material to the defense’s case. See Roviario v. United States, 353 U.S. 53

(1957) (dismissal required where government refused to disclose identity of undercover witness

who might be a material defense witness as to whether accused knowingly transported narcotics);

United States v. Fernandez, 913 F.2d 148 (4th Cir. 1990) (dismissal of prosecution for making




Trump v. Mazars USA, LLP, 140 S. Ct. 2019, 2025 (2020); 2. It is especially inappropriate to try
to resolve through the criminal process the complicated constitutional issues that arise in such
disputes as these. United States v. House of Representatives, 556 F. Supp. 150, 152-153 (D.D.C.
1983); Barenblatt v. United States, 360 U.S. 109 (1959); Ansara v. Eastland, 442 F.2d 751
(D.C.Cir.1971); Tobin v. United States, 306 F.2d 270, 276 (D.C.Cir.1962).


                                                14
         Case 1:21-cr-00670-CJN Document 116 Filed 07/15/22 Page 15 of 24




false statements to government about CIA activities in which defendant was involved because

nature of defendant’s assignments was central to the charges against him and government’s

assertion of State Secrets privilege with respect to same deprived the defendant of his right to

present a meaningful defense); See also [Ex. 1] Trial Trans., Day 1 Afternoon Session, United

States v. David Rainey, Crim. No. 12-CR-00291-KDE-DEK (E.D. La. Jul. 14, 2015), ECF No.

510.

        In the Rainey case, (Crim. No. 12-CR-00291-KDE-DEK), the district court dismissed an

obstruction of Congress charge against a Deepwater Horizon executive finding thatbecause the

subpoenaed Members of Congress validly invoked their Speech or Debate privilege and could not

be compelled to testify, dismissal of the charge was the only means of preserving the accused’s

right to a fair trial8:

        As seen earlier today, the Court found in favor of the House, and its ruling supported the
        House's long-standing constitutional privilege under the Speech or Debate Clause. The
        Court must now address what implication that ruling has on the defendant's right to a full
        trial and his constitutionally guaranteed rights, which I have just described.
        Thus, the Court finds that, similar to the holding in [U.S. v. Fernandez, 913 F.2d 148 which
        is a Fourth Circuit case, 1990, and consistent with the rulings in Jencks v. United States,
        353 U.S. 657, and Roviaro v. U.S., 353 U.S. 53, the government's prosecution of Count 1
        under § 1505 must give way where the defendant seeks relevant, material, noncumulative

8
  See [Ex. 2] Brian M. Heberling, Congressional Gamesmanship Leads To An Acquittal in
Deepwater Horizon Case: United States v. David Rainey: A Case Study, 20 BERKELEY J. CRIM.
L. 260, 262 (Fall 2015) (noting the “lessons learned” from the Rainey case, including (1) there is
only one United States when it comes to a criminal prosecution, rendering the consequences of a
privilege assertion by Members of Congress attributable to the Executive Branch, (2) a criminal
defendant's right to compulsory process cannot be vindicated by voluntary testimony limited in
scope by the witness, (3) district courts have power to exclude all congressional evidence if a
selective invocation of the Speech or Debate Clause privilege leads to a one-sided, unfair
presentation of evidence, and may acquit a defendant if the ruling leads to a failure of proof on an
essential element, and (4) given the unpredictability and self-interest of Members of Congress and
their staff, and the absolute nature of the Speech or Debate Clause privilege, prosecutors should
not pursue a criminal charge that requires congressional testimony if any alternatives are
available.).
                                                15
        Case 1:21-cr-00670-CJN Document 116 Filed 07/15/22 Page 16 of 24




       evidence related to his defense, but also where he has been precluded from obtaining this
       evidence due to the invocation of a constitutional privilege by a branch of the very same
       government involved in his prosecution. Because the defendant is not able to put on a full
       and fair defense, consistent with his constitutional rights and consistent with an element of
       the crime as described by the Fifth Circuit and set forth in the jurisprudence, under these
       circumstances the Court finds the only appropriate remedy is dismissal of Count 1.
[Ex. 1 at 29:17-30:1].

                  Granting The Motion To Quash Requires The Exclusion
               Of All Congressional Evidence At Mr. Bannon’s Criminal Trial

       Movants claimed that the subpoenas request documents and materials that are irrelevant to

Mr. Bannon’s case and they should be exempt as “high-ranking officials.

       Counsel for Mr. Bannon tailored the requests narrowly to capture documents that reflect

specific communications by each Movant related to Mr. Bannon, and specific documents that

reflect the bias of the Movant against Mr. Bannon and the intended testimony of each witness was

directly relevant and narrowly tailored.9 See Welsh v. United States, 404 F.2d 414, 417-418 (5th



9
 For example, the subpoena directed to Chairman Thompson seeks his testimony concerning all
correspondence with Mr. Costello concerning Mr. Bannon, along with all Bannon-related
decision-making by the Committee, his lack of consultation with a ranking minority member, his
public statement that Rep. Cheney is not the ranking member on the Committee, along with
information supporting the allegations he made in a lawsuit filed against President Trump,
purporting to assess liability for the events of January 6, 2021, and claiming that he was personally
injured by those events. Thompson v. Trump, 1:21-cv-00400(APM) (See e.g. Doc. 11-1 Amended
Complaint). This hardly seems an appropriate prelude to service as the Chair of a Select
Committee tasked with investigating those events. Furthermore, Select Committee Members
Raskin and Schiff have each written books that they are currently marketing which assert their
conclusions about liability for the events of January 6th, before they even began their purported
“investigation” as members of the Select Committee. Subpoenas directed toward them seek to
uncover personal, reputational, and financial conflicts of interests for these members, who clearly
have a vested interest in ensuring that the Select Committee’s conclusions are consistent with the
conclusions they have drawn in their books and to take testimony from them on how the reason
for subpoenaing Mr. Bannon jibes with their prejudgments on the events of January 6th.
Examination of these witnesses at trial would have included focus on the formation of the
Committee and the rejection of members proposed by Rep. McCarthy, the lack of a ranking
minority member as required by the rules, the failure to provide a copy of Rule 3(b)(Pelosi on
these subjects as well), all decision-making by the Committee vis a vis Mr. Bannon, the basis for
his subpoena and the basis for not respecting the invocation of executive privilege, for refusing his
                                                 16
        Case 1:21-cr-00670-CJN Document 116 Filed 07/15/22 Page 17 of 24




Cir.1968) (“if the accused avers facts which, if true, would be relevant to any issue in the case, the

requests for subpoenas must be granted, unless the averments are inherently incredible on their

face, or ‘unless the Government shows, either by introducing evidence or from matters already of

record, that the averments are untrue or that the request is otherwise frivolous.’ ... That test places

the burden of showing frivolity or abuse of process on the Government, where it properly

belongs.”) (quoting Greenwell v. United States, 115 U.S. App. D.C. 44 (1963)).

       The same response applies to Movant Douglas Letter’s contention that he need not produce

documents pertaining to his change in position regarding whether the Select Committee has a

“ranking minority member.” Mr. Letter voluntarily participated in an FBI interview where he

stated that the Select Committee had no ranking minority member. He later changed his position

and claimed that Representative Liz Cheney is the ranking member on the Select Committee;

however, Select Committee Chairman Thompson has explicitly said that Representative Cheney

is not the ranking member.10 The jury in Mr. Bannon’s criminal case is entitled to hear evidence

on that issue – which is critical to the “authority” element of the offense. If there are specific

documents that are covered by the attorney-client privilege, the proper course is to identify them

and determine whether an accommodation can be reached as to those documents, or whether a




request to test the validity of his invocation in a civil enforcement proceeding, the denial of his
extension request, the decision to refer his case for criminal prosecution, and media statements
about Mr. Bannon and their contempt referral made by each of these members and others under
subpoena. There will be no competent witness at trial to testify in place of these essential witnesses
and no witness with decision-making authority.

10
 YOUTUBE, Watch: Jan. 6 House Select Committee Holds First Hearing On Capitol Riot (July 27,
2021), https://www.youtube.com/watch?v=vHrt44ANHIA at 16:37; see also ( Kimberly Wehle,
The Case for Subpoenaing Members of Congress to Testify on the January 6 Insurrection:
Democrats have strong constitutional arguments on their side, THE ATLANTIC (Aug. 26, 2021),
(Thompson made clear at the opening hearing that Representative Liz Cheney “is not the ranking
member,” and Adam Kinzinger is the only other Republican on the committee).
                                                  17
        Case 1:21-cr-00670-CJN Document 116 Filed 07/15/22 Page 18 of 24




modification to the subpoena to Mr. Letter should be made to excuse him from producing those

documents. Mr. Bannon respectfully contends that it was error to quash the subpoena on that basis,

or excuse Mr. Letter’s appearance as a trial witness on that basis; but even if the ruling were

correct, the relief he seeks herein still applies.

        Movants argued that, even though they initiated this prosecution, they are “high-ranking

government officials” who are too important and too busy to appear as trial witnesses. See [ECF 1

at 33, 38 in Misc. Case No. 22-00060 (CJN)]. The cases cited by the subpoenaed parties pertain

to civil depositions or criminal matters where the officials did not have first-hand knowledge

pertaining to an element of the offense, and did not personally take steps to initiate the

prosecution.11 Again, Mr. Bannon opposed this claim; but even if the Court was correct in granting

the Motion to Quash on this ground, the relief sought herein applies.



11
   See, e.g., Springfield Terminal Ry. Co. v. United Transp. Union, 1989 WL 225031, at *1-2
(D.D.C. May 18, 1989) (civil case – court refused to compel ranking Minority Member of House
Appropriations Committee to testify or produce documents in a dispute over an arbitral award
where congressman was only tenuously connected to the issues in the lawsuit, and Plaintiff
stonewalled all efforts congressman made to reach a less burdensome accommodation); Simplex
Time Recorder Co, v. Secretary of Labor, 766 F.2d 575 (1985) (civil case – court refused to compel
Department of Labor officials to testify regarding enforcement of the Occupational Safety and
Health Act of 1970 where such decisions were discretionary and the information sought was
available from other sources); Bogan v. City of Boston, 489 F.3d 417 (1st Cir. 2007) (civil case –
district court did not abuse its discretion by issuing a protective order in civil rights case to prevent
taking of deposition from mayor where other avenues for obtaining the requested information had
not been exhausted); In re U.S. (“Bernanke”), 542 F. App’x 944 (Fed. Cir. 2013) (civil case –
Chairman of Board of Governors of Federal Reserve entitled to protective order preventing his
deposition because deposition created risks of disrupting significant ongoing government activities
and probing into decision-making process of Federal Reserve without showing of extraordinary
circumstances); Blankenship v. Fox News Network, LLC, 2020 WL 7234270 (S.D. Va. Dec. 8,
2020)( civil case – granting protective order to prevent deposition of Senators McConnell and
Gardner where Plaintiff had not demonstrated Senators personal knowledge of facts at issue, and
alternative avenues for securing information had not been exhausted); Moriah v. Bank of China,
Ltd., 72 F.Supp.3d 437 (S.D.N.Y. 2014) (civil case –victim of bombing which occurred in Israel
and the personal representative of victim who was killed in bombing failed to demonstrate
exceptional circumstances allowing deposition of the former House Majority Leader of the House
of Representatives, where victim and personal representative could not establish former Leader
                                                     18
        Case 1:21-cr-00670-CJN Document 116 Filed 07/15/22 Page 19 of 24




       The cases that Movants relied upon are aimed at protecting the integrity of the

administrative process and at ensuring that high-ranking officials are not dragged into civil

lawsuits lawsuit that tangentially implicate their decisions or actions. See United States v. Morgan,

313 U.S. 409 (1941); United States v. Newman, 531 F. Supp.3d 181, 188 (D.D.C. 2021). That is

not the situation in this criminal case. As detailed above, this is a case where the members have

been subpoenaed have taken direct actions that resulted in prosecution of Mr. Bannon. In these

circumstances, they are not merely high ranking official at the top of the pyramid but instead are,

as the Government has stated to the Court, “complainants” in this case. By their actions directed

at Mr. Bannon and aimed at subjecting him to criminal prosecution, they have necessarily waived




had unique first-hand knowledge related to any matter in action against Chinese bank relating to
bombing); Feldman v. Bd. of Educ. School Dist. #1 City & Cnty of Denver, No. 09-CV-01049,
383154 (D. Colo. Jan. 28, 2010) (civil case – granting motion to prevent deposition of Senator
where Senator had no first-hand knowledge or participation in the facts at issue); In re U.S. (“Reno
& Holder”), 197 F.3d 310 (8th Cir. 1999) (defendant sentenced to death was not entitled to
subpoenas directing AG and her deputy to testify in decision not to withdraw death notice; since
record contained sufficient evidence to establish factual basis for defendant's claim, testimony of
AG and her deputy was not necessary); Cano v. Davis, NO. 01-CV-08477 (C.D. Cal. March 28,
2022) (civil case –plaintiffs in California voter redistricting challenge had not adequately alleged
that the subpoenaed senators had first-hand knowledge of the state’s redistricting plan and that
subpoenas should be quashed pending court’s ruling on defendant’s summary judgment motion as
to propriety of discovery on issues of intent); Lederman v. N.Y.C. Dept. of Parks and Recreation,
731 F.3d 199 (2d. Cir. 2013) (civil case – district court did not abuse its discretion in issuing
protective order barring depositions of Mayor and former Deputy Mayor of New York in suit by
visual artists challenging constitutionality of time, place, and manner restrictions on selling art
because artists did not demonstrate exceptional circumstances, identify with particularity the
information they needed, or contend that Mayor and his Deputy had first-hand knowledge about
litigated claims or that relevant information could not be obtained elsewhere); Bardoff v. United
States , 628 A.2d 86 (D.C. 1993) (civil case – protestors who disrupted Iran-Conta hearing not
entitled to subpoena senators and chief counsel to question them concerning conduct of hearing,
including decision to adjourn, as subject fell within area of legislative activity protected from being
“questioned in any other place” by speech or debate clause); McNamee v. Mass., 2012 WL
1665873 (D. Mass. May 10, 2012) (civil case – granting motion to quash subpoenas directed at
congressman and chief of staff in worker’s compensation action because plaintiff had not
demonstrated that congressman or chief of staff had personal knowledge of facts at issue).


                                                  19
        Case 1:21-cr-00670-CJN Document 116 Filed 07/15/22 Page 20 of 24




any argument that they are too high ranking or too busy to testify at trial. Nevertheless, of quashing

their subpoenas was correct, it still must result in excluding the congressional evidence or dismissal

of the indictment.

       This Court accepted Movants’ position that they have absolute immunity from subpoena

process by a criminal defendant charged with Contempt of Congress under the Speech andor

Debate Clause in its oral Order of July 11, 2022. The only way to preserve Mr. Bannon’s Fifth

and Sixth Amendment rights is to exclude all congressional evidence at trial. However, in a

criminal prosecution, the Government’s ultimate responsibility is to ensure justice is done. Jencks

v. United States, 353 U.S. 657, 670-71 (1957). It follows that under the circumstances, the

Government “can invoke its evidentiary privileges only at the price of letting the defendant go

free.” Id. (citing United States v. Reynolds, 345 U.S. 1, 12 (1953)). The Supreme Court has held,

for instance, that a criminal action must be dismissed when the government, on the grounds of

privilege, elects not to produce documents relevant and material to a government witness’s

testimony. Jenks, 353 U.S. at 657; Id. at 670-71 (holding that it is “unconscionable to allow it to

undertake prosecution and then invoke its governmental privileges to deprive the accused of

anything which might be material to his defense.”); Roviaro v. United States, 353 U.S. 53, 60-61

(1957) (when disclosure of informer’s identity, or of contents of his communication, is relevant

and helpful to criminal defendant, or is essential to a fair determination of a cause, the trial court

may require disclosure and, if government withholds the information on grounds of privilege,

dismiss the action).

       In a reversal of position, the same Members of Congress who initiated the prosecution of

Mr. Bannon for asserting privilege when served with a subpoena asked this Court to excuse them

from compliance with trial subpoenas based upon their own assertion of privilege. This Court



                                                 20
        Case 1:21-cr-00670-CJN Document 116 Filed 07/15/22 Page 21 of 24




accepted their argument and granted their motion. Speaker Pelosi has made incendiary statements

about Mr. Bannon that include the phrase – no one is above the law. But it is the Members of

Congress and staff who claim to be above compliance with a trial subpoena in the very criminal

case they initiated. Therefore, the relief sought herein must be granted.

       The Fifth and Sixth Amendments guarantee that Mr. Bannon, like every criminal

defendant, be afforded the opportunity to put on a defense at trial, to confront his accusers in court,

and to compel production of evidence in their possession. Permitting Movants to selectively

participate in Mr. Bannon’s prosecution eviscerates those essential rights. Simply put, the House

cannot have it both ways.

       By filing an amicus curiae brief in support of the Government’s position in this case, the

subpoenaed witnesses have conceded the materiality and relevance of their testimony in Mr.

Bannon’s case. It would be contrary to fundamental fairness for them to avail themselves of the

benefit of being heard by this Court and then hide behind legislative immunity to circumvent the

legal and procedural protections afforded to the criminal defendants who come before it. In any

event, given the Court’s ruling granting Movants’ Motion To Quash, the indictment must be

dismissed. In the alternative, evidence on which Movants would have been called to testify and on

which they have relevant competent testimony to give, as identified herein, must be excluded.

                                              CONCLUSION

       Based on the record in the related Miscellaneous Case, In Re: Non-Party Subpoenas, 22-

00060 (CJN), , the record in the instant case, and based on the forgoing, this Court must either

dismiss the indictment or exclude all congressional evidence at trial. The evidence Movants

possess, as identified herein, is relevant, material, essential to the defense, and non-cumulative.

Being left with the cross-examination of Select Committee staffwho first-hand knowledge and


                                                  21
        Case 1:21-cr-00670-CJN Document 116 Filed 07/15/22 Page 22 of 24




decision-making authority is a constitutionally inadequate substitute. Finally, the Court

“conditionally” granted the Government’s motion, over the Defendant’s objection, to prohibit

argument by Mr. Bannon that granting the Motion To Quash provides a basis for acquittal an

adverse inference [July 11, 2022, Hearing Tr. 137-138]. However, Mr. Bannon respectfully

asserts that he must be permitted to argue that each Movant was free to testify voluntarily, and

the jury must be permitted to draw relevant inferences from Movants’ failure to testify

voluntarily.

Dated: July 15, 2022                         Respectfully submitted,

                                             SILVERMAN|THOMPSON|SLUTKIN|WHITE, LLC

                                                /s/ M. Evan Corcoran
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                                             Counsel for Defendant Stephen K. Bannon




                                                22
       Case 1:21-cr-00670-CJN Document 116 Filed 07/15/22 Page 23 of 24




                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 15th day of July 2022, a copy of the foregoing Motion

to Dismiss Based on Granting the Motion to Quash in In Re: Non-Party Subpoenas was served

via the Court’s CM/ECF system on registered parties and counsel.


                                              /s/ M. Evan Corcoran
                                           M. Evan Corcoran (D.C. Bar No. 440027)




                                             23
         Case 1:21-cr-00670-CJN Document 116 Filed 07/15/22 Page 24 of 24




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
UNITED STATES OF AMERICA             :
                                     :
                                     :  Criminal No. 21-670 (CJN)
                                     :
v.                                   :
                                     :
STEPHEN K. BANNON,                   :
                                     :
            Defendant.               :
____________________________________:


                                               ORDER

         Upon consideration of Defendant’s Second Motion To Dismiss, and based upon the entire

record herein and in the related miscellaneous case, In Re Non-Party Subpoenas, 21-00060 (CJN),

it is ORDERED that the Second Motion to Dismiss is hereby GRANTED.

                                                   ___________________________________
                                                   Hon. Carl J. Nichols
                                                   United States District Judge
Dated:




                                              24
